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THE HONORABLE

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

MARY MATSON, No.
Plaintiff, NoTIcE 0F REMOVAL

V.
UNITED PARCEL sERvIcE, INC.,

Defendant.

 

 

 

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF WASHINGTON:

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendant United Parcel Service ("UPS“)
removes this action to this Court from the Superior Court of the State of Washington for ang
County. In support of this Notice, UPS, by its undersigied attorneys, respectfully states:

1. STATE COURT ACTION

Plaintiff Mary Matson commenced this action on or about July 15, 2010, by filing a
Complaint (the “Complaint") in the Superior Court of the State of Washington for King County,
where it Was assigned Cause No. 10-2-25613-OSEA. The registered agent for UPS was served
With the Summons and Complaint on August 23, 2010. S_ee_ Declaration of Linda Mizumoto

(“Mizumoto Decl.”), 1]3. UPS's counsel filed Notices of Appearance in Superior Court on

Perkins Coie LLP
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Seattle, WA 9810]-3099
NOTICE OF REMOVAL (No. )- l PhOHCf 206~359-8009

008954)528/LEGAL19112356.1 Fax: 206.359.9000

 

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September 3, 2010 and September 9, 2010. No iiirther proceedings in this matter have been had
in the Superior Court.

In the Complaint, plaintiff brings claims for sex discrimination, race discrimination,
retaliation, and wrongful discharge in violation of public policy. _S_§§ Complaint 1[1[ 11-21.
Plaintiffs claims are brought under the Washington Law Against Discrimination, Chapter 49.60
RCW, and Washington common law. Plaintiff seeks damages, including lost past and future
wages, lost benefits, general damages in an amount to be proven at trial, and attorneys’ fees and
costs. E Complaint, 1H] 14, 18, 21 , and "Prayer for Relief".

2. GROUNDS FOR REMOVAL: Diversity of Citizenship

There is jurisdiction of the federal court in this matter pursuant to 28 U.S.C. § 1332 based
on diversity of citizenship

a. Diversity of Citizenship. According to her Complaint, plaintiff is a
resident of Enumclaw, Washington. §g_e Complaint at 1[1. United Parcel Service, Inc. is an Ohio
corporation With its principal place of business in Georgia. w Mizumoto Decl., 112. Diversity
of citizenship therefore exists between the parties

b. Amount in Controversy

The amount in controversy in this matter exceeds $75,000, exclusive of costs and interest
Although plaintiffs Complaint does not contain an allegation regarding the speciHc amount in
controversy, the Court should conclude based on a preponderance of evidence that plaintiff seeks
damages in an amount greater than $75,000 based on the following:

Plaintiff seeks damages for lost past and nature wages. g Complaint, 1111 14, 18, 21, and
“Prayer for Relief". At the time of her discharge, plaintiff was working for UPS as a part-time
employee performing both air combination work and ramp work. Mizumoto Decl., 1[ 4.
Plaintiff‘s pay rate at the time of her discharge on February 4, 2010 Was $22.52 per hour for air
combination work and $14.70 per hour for ramp work. LJ. Based on a part-time schedule of 30

hours per week, plaintiff would have made $675.60 per week for her air combination Work and

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$441 per week for her ramp work. Assuming that plaintiffs claim for lost Wages extends from
the date of her discharge to a trial date approximately 12 months from the date of filing
(approximately 81 Weeks in total), plaintiffs Wage loss claim has a potential value ranging from
approximately $34,721 (wages for ramp work) to $54,723 (Wages for air combination work).
Plaintiff also seeks general damages for extreme emotional distress, in an amount to be
proven at trial. Complaint at 1|1]14, 18, 21. These amounts are properly considered part of the
amount in controversy even though the ultimate award cannot be determined with specificity
See, e.g., Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (“Nor does it present
an insurmountable obstacle to quantify the amount at stake When intangible harm is alleged; the
parties need not predict the trier of fact’s eventual award With one hundred percent accuracy.”).
It is appropriate to consider awards in similar cases in assessing the amount in controversy
Kroske v. U.S. Bank Corp.. 432 F.3d 976, 980 (9th Cir. 2005) (holding that the district court
properly considered emotional distress damage awards in similar discrimination cases in

Washington in determining that the amount in controversy exceeded $75,000), cert. denied 127

 

S. Ct. 157 (2006). Juries frequently award substantial amounts of emotional distress or general
damages in employment discrimination and negligent infliction of emotional distress cases. S£._
§;g._, Passantino v. Johnson & Johnson Consumer Prods. Inc.. 212 F.3d 493, 504, 513-14 (9th Cir.
2000) (affirming $1,000,000 emotional distress award in a discrimination and retaliation case
brought under the WLAD); Robel v. Roundup Com., 148 Wn.2d 35, 41-42, 59 P.3d 611 (2002)
($50,000 general damages award in case for disability discrimination and retaliation under the
WLAD); Hirata v. Evergreen State Ltd. P’ship No. 5, 124 Wn. App. 631, 636, 103 P.3d 812
(2004) ($75,000 general damages award to each of two plaintiffs in an employment
discrimination and harassment case brought under the WLAD, Where one of the plaintiffs was

awarded only $1,570.80 in back pay); Hern'ng v. Dep’t of Soc’l & Health Servs., 81 Wn. App. l,
13-15, 914 P.2d 67 (1996) ($550,000 award for non-economic mental distress damages in a suit

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under the WLAD for wrongful termination, discrimination, failure to accommodate, harassment,
and retaliation related to plaintiffs disability).

Finally, plaintiffs Complaint also seeks attorneys’ fees. Where, as here, attorneys’ fees
are recoverable under the applicable state statutes, reasonable attorneys’ fees are properly
included in the amount in controversy Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56

(9th Cir. 1998) (considering attorneys' fees in determining amount in controversy); Kroske 432

 

F.3d at 980 (same); Beaver v. NPC Intern. Inc., 451 F. Supp. 2d 1196, 1198-99 (D.Or. 2006)
(same); Szalay v. Yellow Freight Sys., lnc., 999 F. Supp. 972, 974 (`N.D. Ohio 1996) (same),
My, 127 F.3d 1103 (6th Cir. 1997). As with emotional distress awards, fee awards in
employment discrimination cases are frequently substantial. See, e.g., I_JM, 124 Wn. App. at
636 (fee award of $271,230); He_rring, 81 Wn. App. at 13 ($267,862.50 fee award). An award of
even half the amount of fees awarded in w or Mlg would be well over the minimum
amount in controversy

Considering plaintiffs claims for lost wages in conjunction with her claims for lost
benefits, emotional distress damages, and attomeys’ fees, there can be no doubt that a reasonable
person would conclude that the amount in controversy here exceeds the $75,000 required for
diversity jurisdiction Therefore, based upon a preponderance of the evidence, UPS has satisfied
its burden to establish that the amount in controversy exceeds $75,000. This Court therefore has
diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).

Accordingly, the action is removable pursuant to 28 U.S.C. §§ 1441(b) and 1446.

3. Venue. This Court is the federal District Court of the United States for the l
district embracing the place where the state court action is pending and is therefore the

appropriate court for removal pursuant to 28 U.S.C. § 1441 (a).
4. Timely Removal. This Notice of Removal is filed with the Court within thirty

(30) days afier UPS was first served with the Complaint. 28 U.S.C. § 1446(b).

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5. State Court Records. Copies of all process and pleadings filed in this case,
Cause No. 10-2-25613-OSEA, including the Complaint, served on defendant and found in the
files of the Superior Court of the State of Washington for King County, as of September 22,
2010 are attached to the Certification of State Court Record filed with this Notice of Removal.

WHEREFORE, UPS prays that the above-entitled action be removed from the Superior

Court of Washington for King County to this Court.

DATED: September 22, 2010 s/ Michael T. Reynvaan, WSBA No. 12943

MReynvaan@perkinscoie.com

Maralee M. Downey, WSBA No. 38239
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Attomeys for Defendant
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CERTIFICATE OF SERVICE

I certify that on September 22, 2010, 1 electronically filed the foregoing NOTICE OF

REMOVAL with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to the following attorney of record. In addition, I caused service to be made on the

same attorney(s) of record by the method(s) indicated:

Peter G. Cogan _X_
Law Offices of Peter G. Cogan

119 First Avenue South, Suite 500

Seattle, WA 98104

Attorneys for Plaintiff z

Via Hand Delivery

Via U. S. Mail, 1st Class, Postage Prepaid
Via Overnight Delivery

Via Facsimile

Via Email

Via E-filing

I certify under penalty of perjury that the foregoing is true and correct.

DATED this 22“d day of september, 2010.

s/ Janet Davenport
Janet Davenport, Legal Secretary

CERTIFICATE OF SERVICE (No. )- 1
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IN TH.E SUPERIOR COURT OF THE STATE OF WASHlNGTON
FOR KING COUN'[`Y

MAR\’MATSON,
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PlaintiB`

VS.
curran PARCEL sI-:vacs, INC. ' \

Defendant

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PART]ES, JURISDIC'I’!ON, VENUE

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1. Plaintiff Mmy Matson is a white female resideth of Enumclaw, King CEmty,

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Washington

2. Defendant United Pa:cel Service, lnc. is an Ohio corporation engaged in the parcel
delivery business and is an employer doing business in King County, Washington Defendant at
all times relevant hereto employed eight or more employees in the State of Washingtbn.

3. 'I`his court has jurisdiction over this matter and venue is proper in this court

FACTS

4. Defenth employed plaintiff Maxy Matson as a “combination worker" whose job

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EXHIBIT A

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duties included both sorting packages and delivering parcels Plaintiff's employment with
defenth commenced on or about October 2002.

5. At all times relevant hereto plaintiff performed her job duties for defendant in a
competent manner.

6. During the coinse of plaintiff s employment defendant discriminated against plaintiff
in the terms and conditions of employment on the basis oi:`he'r sex and/or on the basis of her
race.. Plaintiff was subjected by defendant w a hostile work environment on the basis of her sex
and/or her race

7. During the comse of her employment with defendant plaintiff opposed and
communicated to defendant her opposition to defendant’s practices of unlawful discrimination
against plaintiff in the terms and conditions of employment on the basis of her sex and/or her
race (including her being subjected to a hostile work enviromnent) which practices violated
RCW 49.60 etseq.

8. After plaintiff opposed and communicated to defendant her opposition to defendant’s
aforementioned employment practices which were in violation of RCW 49.60 er seq,. defendant
retaliated against plaintiff by discriminating against her in the terms and conditions of
employment because ofher protected opposition activities aforementioned including subjecting
her to a hostile work environment

9. On or about mid December 2009 one of defendant’s male employees assaulted
plaintiff on thejob, injuring the plaintiff Plaintiff filed a worlcer’s compensation claim related

to the injuries she suffered from the aforementioned assault

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Case 2:1O-CV-01528-RA.] Document 1 Filed 09/22/10 Page 9 of 11

10. On or about February 2, 2010 defendant wrongtirlly terminated plaintiffs

employment on pretextual grounds
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l 1. Paragraphs 1-10 are incorporated by reference as paragraph ll.

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the terms rmd conditions of her employment in violation of RCW 49.60. l 80.

13. Defenth against discriminated against plainniH`on the basis of her sex in
terminating her employment in violation of RCW 49.60.1-80.

14. As a proximate result of defendant’s wrongful acts and omissions aforementioned
plaintiH` has sn&`er'ed damages, including but not limited to lost pay and benefits and extreme
emotional distrecs, in an amount to be proven at nial.

SECOND CAUSE OF AC'l`lOE- VIQ]¢A'I'ION OF RCW 49.60.210

15. Paragraphs 1-10 arehcreby incorporated by reference as paragraph 15.

16. Defendant discriminated against plaintiii` in the terms and conditions of her
employment because she bad opposed practices outlawed by RCW 49.60 et seq., . in violation of
RCW 49.60.210.

l7. Defendant discriminated against plaintiff in terminating her employment because she
had opposed practices outlawed by RCW 49.60 et seq, in violation of RCW 49.60.210.

18. As a proximate result of defendant‘s wrongful acts and omissions aforementioned

plaintiff has suffered damages, including but not limited to lost pay and beneiits and extreme

emotional distress in an amount to be proven at r.rial.

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19. Pamgz_'aphs l-lO are incorporated by reference and made paragraph 19.

20. Defendant teiminated plaintiff s employment in retaliation for plaintiffs filing a
worker’s compensation claim (as referenced in paragraph 9). Said termination constith
wrongful termination in violation of the public policy of tile State of Washington set forth in
RCW 51.48.025,

21 As a proximate read t of defendants’ aforementioned wrongful acts, plainn'B`
suffered damages, including lost wages and beneliw, and extreme emotional distress, in an
amount to be proven at uial.

PRAYER FOR RELIEF

 

WHEREFORE, plaintiff prays for the following relief:

1. order defendant w pay planes back pay, w wmata plaintiffs mploymem, or m
pay to her front W until she finds comparable employment elsewhere, and to pay plaintiff
compensatory damages in an amount to be proven at trial.

2. Order defendant to pay plaintjfl’s reasonable attorneys fees and costs ofsm`t, pm'suant
to RCW 49.60 er seq. and RCW 49.48 et seq. and any other basis allowed in law or in equity.

3. Allow plaintiE to amend her pleadings to conform to the proof at trial.

4. Order defendant to pay pre-judgment interest on any back wages awarded

5. Order such other further relief as the conn may deem fair and equitable

DATED July 14, 2010.

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Case 2:1O-CV-01528-RA.] Document 1 Filed 09/22/10 Page 11 of 11

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/s/
v Peter G. Cogan, WSBA # 14010

Attoroey for PlaintiE

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Email: coganlaw@yahoo.com

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